          Case 2:22-bk-10266-BB                    Doc 125 Filed 04/07/22 Entered 04/07/22 18:28:49                                        Desc
                                                     Main Document Page 1 of 2

 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


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         Attorney for: 717 GFC LLC

                                            UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA -Los Angeles DIVISION

 In re:                                                                        CASE NO.: 2:22-bk-10266-BB
                                                                               CHAPTER: 11
 ESCADA AMERICA LLC



                                                                 Debtor(s)            ORDER ON APPLICATION OF
                                                                                 NON-RESIDENT ATTORNEY TO APPEAR IN
                                                                                    A SPECIFIC CASE [LBR 2090-1(b)]


                                                                Plaintiff(s)
                                      vs.


                                                                                         [No hearing required per LBR 2090-1(b)(6)]


                                                            Defendant(s)

The court, having reviewed the Application of the non-resident attorney to appear in a specific case under LBR 2090-1(b),
and good cause appearing, orders as follows:

    The Application is granted and the following person may appear as requested in the above-entitled case (specify
    name of applicant): Louis T. DeLucia

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            This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2016                                                                                                     F 2090-1.2.ORDER.NONRES.ATTY
        Case 2:22-bk-10266-BB                      Doc 125 Filed 04/07/22 Entered 04/07/22 18:28:49                                        Desc
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    Permission to appear pro hac vice is effective upon payment of the requisite fee to the United States District Court for
    the Central District of California.
                                                           ###




                   Date: April 7, 2022




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June 2016                                                                                                     F 2090-1.2.ORDER.NONRES.ATTY
